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                                                                                U.S.D.C. -      COURT
                                                                                             Atlanta

                                                                              NOV 0 7 2023
                  }IN THE UNITED STA I ES DISTRICT COURT                 KEVIN P.
                 FOR THE NORTHERN DISIRICT OF GEORGIA                     Sy •    WEIMER,
                                                                                          Clerk
                                                                                         Deputy Clerk
                            ATLANTA DIVISION

   UNITED STATES OF AMERICA
         V.                                   Criminal Indictment
   DONELL GLOVER AND                          No. 1 s
   FREDERICK ROGERS

THE GRAND JURY CHARGES THAT:

                                    Count One
   Conspiracy to make false written statements to licensed dealers of firearms
   Beginning on a date unknown, but at least by on or about September 23, 2020,
and continuing until on or about July 14, 2021, in the Northern District of
Georgia and elsewhere, the defendants, DONELL GLOVER and FREDERICK
ROGERS, did knowingly and willfully combine, conspire, confederate, agree,
and have a tacit understanding with each other to violate Title 18, United States
Code, Section 922(a)(6), that is, to knowingly make false and fictitious written
statements to licensed dealers of firearms within the meaning of Chapter 44 of
Title 18 of the United States Code, which statements were intended and likely to
deceive such dealers, in connection with the acquisition of firearms, as to facts
material to the lawfulness of the sale of said firearms.
                                     Overt Acts
   In furtherance of the conspiracy and to accomplish its objectives, the
defendants, DONELL GLOVER and FREDERICK ROGERS, committed, and
caused to be committed, at least one of the following overt acts:
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      1. On or about September 24, 2020, defendant ROGERS traveled from
New Jersey to Atlanta, Georgia. On or about September 24, 2020, defendant
GLOVER purchased two semi-automatic pistols from a federally licensed
firearms dealer in McDonough, Georgia. On or about September 26, 2020,
defendant GLOVER purchased a semi-automatic pistol from a federally licensed
firearms dealer in Jonesboro, Georgia. On or about September 27, 2020,
defendant ROGERS left Atlanta, Georgia and went to New York.
      2. On or about November 14, 2020, defendant GLOVER purchased eight
semi-automatic pistols from a federally licensed firearms dealer in Clarksville,
Georgia. On or about November 14, 2020, defendant GLOVER purchased two
semi-automatic pistols from a federally licensed firearms dealer in Jonesboro,
Georgia. On or about November 14, 2020, defendant GLOVER and defendant
ROGERS transferred money between each other on Cash App.
      3. On or about November 27, 2020, defendant ROGERS traveled from
New York to Atlanta, Georgia. On or about November 28, 2020, defendant
GLOVER purchased two semi-automatic pistols from a federally licensed
firearms dealer in Lawrenceville, Georgia. On or about November 28, 2020,
defendant GLOVER purchased six semi-automatic pistols from a federally
licensed firearms dealer in Dalton, Georgia. On or about November 29, 2020,
defendant GLOVER purchased three semi-automatic pistols from a federally
licensed firearms dealer M Dalton, Georgia. On or about November 29, 2020,
defendant GLOVER purchased two revolvers from a federally licensed firearms
dealer in Lawrenceville, Georgia. On or about November 27, 2020 and

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November 28, 2020, defendant ROGERS paid money to defendant GLOVER on
Cash App. On or about November 29, 2020, defendant ROGERS left Atlanta,
Georgia and returned to New York.
      4. On or about January 15, 2021, defendant ROGERS traveled from New
York to Atlanta, Georgia. On or about January 16, 2021, defendant GLOVER
purchased six semi-automatic pistols from a federally licensed firearms dealer in
Atlanta, Georgia. On or about January 16,2021, defendant ROGERS paid
defendant GLOVER money on Cash App. On or about January 17,2021,
defendant ROGERS left Atlanta, Georgia and returned to New York.
      5. On or about May 5, 2021, defendant GLOVER purchased one semi-
automatic pistol from a federally licensed firearms dealer in McDonough,
Georgia. On or about May 5, 2021, defendant ROGERS paid defendant GLOVER
money on Cash App.
      6. On or about May 22, 2021, defendant ROGERS traveled from New York
to Atlanta, Georgia. On or about May 22, 2021, defendant GLOVER purchased
one semi-automatic pistol from a federally licensed firearms dealer in Smyrna,
Georgia. On or about May 22, 2021, defendant ROGERS paid defendant
GLOVER money on Cash App. On or about May 23, 2021, defendant ROGERS
left Atlanta, Georgia and returned to New York.
   All in violation of Title 18, United States Code, Section 371.




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                                     Count Two
   Knowingly making false written statements to licensed dealers of firearms
   On or about September 24, 2020, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted
by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,
   Firearm                                Model               Caliber
  Taurus semi-automatic pistol            856                 .38
  ATT semi-automatic pistol               Milsport            5.56

did knowingly make a false and fictitious written statement to Amchar Georgia
a/k/a Amchar Georgia Range, a licensed dealer of firearms within the meaning
of Chapter 44 of Title 18 of the United States Code, which statement was
intended and likely to deceive Amchar Georgia a/k/a Amchar Georgia Range,
as to a fact material to the lawfulness of the sale of the aforementioned firearm(s),
in that defendant GLOVER falsely represented that he was the actual buyer of
the firearm(s), when, in fact, as defendant GLOVER knew, defendant ROGERS
was the actual buyer of the firearm(s), all in violation of Title 18, United States
Code, Sections 922(a)(6) and 924(a)(2), and Section 2.
                                    Count Three
   Knowingly making false written statements to licensed dealers of firearms
   On or about September 26, 2020, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted



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by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,
   Firearm                               Model               Caliber
  Glock semi-automatic pistol            19GEN5              9mm

did knowingly make a false and fictitious written statement to Arrowhead Pawn
Shop, a licensed dealer of firearms within the meaning of Chapter 44 of Title 18
of the United States Code, which statement was intended and likely to deceive
Arrowhead Pawn Shop, as to a fact material to the lawfulness of the sale of the
aforementioned firearm(s), in that defendant GLOVER falsely represented that
he was the actual buyer of the firearm(s), when, in fact, as defendant GLOVER
knew, defendant ROGERS was the actual buyer of the firearm(s), all in violation
of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2), and Section 2.
                                    Count Four
   Knowingly making false written statements to licensed dealers of firearms
   On or about November 14, 2020, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted
by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,
  Firearm                                Model               Caliber
  Glock semi-automatic pistol            42                  .380
  Ruger semi-automatic pistol            EC9S                9mm
  Ruger semi-automatic pistol            Security 9          9mm
 Smith & Wesson semi-automatic           SD40                .40
  pistol
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  Taurus semi-automatic pistol           GC3                  9mm
  HS Produkt (Springfield) semi-         XD9                  9mm
  automatic pistol
  Beretta semi-automatic pistol          APX                 9mm
  Taurus semi-automatic pistol           G2C                 9mm

did knowingly make a false and fictitious written statement to Red Dawn
Outfitters, a licensed dealer of firearms within the meaning of Chapter 44 of Title
18 of the United States Code, which statement was intended and likely to deceive
Red Dawn Outfitters as to a fact material to the lawfulness of the sale of the
aforementioned firearm(s), M that defendant GLOVER falsely represented that
he was the actual buyer of the firearm(s), when, in fact, as defendant GLOVER
knew, defendant ROGERS was the actual buyer of the firearm(s), all in violation
of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2), and Section 2.
                                    Count Five
   Knowingly making false written statements to licensed dealers of firearms
   On or about November 14, 2020, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted
by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,


  Firearm                                Model               Caliber
  Clock semi-automatic pistol            19GEN5              9mm
  Glock semi-automatic pistol            26GEN4              9mm


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did knowingly make a false and fictitious written statement to Arrowhead Pawn
Shop, a licensed dealer of firearms within the meaning of Chapter 44 of Title 18
of the United States Code, which statement was intended and likely to deceive
Arrowhead Pawn Shop, as to a fact material to the lawfulness of the sale of the
aforementioned firearm(s), in that defendant GLOVER falsely represented that
he was the actual buyer of the firearm(s), when, in fact, as defendant GLOVER
knew, defendant ROGERS was the actual buyer of the firearm(s), all in violation
of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2), and Section 2.
                                     Count Six
   Knowingly making false written statements to licensed dealers of firearms
   On or about November 28, 2020, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted
by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,
  Firearm                                Model               Caliber
  Taurus semi-automatic pistol           G3C                 9mm
  Taurus semi-automatic pistol           Spectrum            .380

did knowingly make a false and fictitious written statement to We AR Arming
America LLC, a licensed dealer of firearms within the meaning of Chapter 44 of
Title 18 of the United States Code, which statement was intended and likely to
deceive We AR Arming America LLC as to a fact material to the lawfulness of
the sale of the aforementioned firearm(s), in that defendant GLOVER falsely
represented that he was the actual buyer of the firearm(s), when, in fact, as
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defendant GLOVER knew, defendant ROGERS was the actual buyer of the
firearm(s), all in violation of Title 18, United States Code, Sections 922(a)(6) and
924(a)(2), and Section 2.
                                    Count Seven
   Knowingly making false written statements to licensed dealers of firearms
   On or about November 28, 2020, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted
by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,
   Firearm                                Model               Caliber
  Taurus semi-automatic pistol            G3C                 9mm
  Girsan semi-automatic pistol           MC28SA               9mm
  Glock semi-automatic pistol            43                   9=
  Glock semi-automatic pistol            43                   9mm
  Glock semi-automatic pistol            44                   .22
  Glock semi-automatic pistol            43                   9mm

did knowingly make a false and fictitious written statement to Unks Guns a/k/a
Ricky Chester Kipfmiller, a licensed dealer of firearms within the meaning of
Chapter 44 of Title 18 of the United States Code, which statement was intended
and likely to deceive Unks Guns a/k/a Ricky Chester Kipfmiller, as to a fact
material to the lawfulness of the sale of the aforementioned firearm(s), in that
defendant GLOVER falsely represented that he was the actual buyer of the
firearm(s), when, in fact, as defendant GLOVER knew, defendant ROGERS was


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the actual buyer of the firearm(s), all in violation of Title 18, United States Code,
Sections 922(a)(6) and 924(a)(2), and Section 2.
                                    Count Eight
   Knowingly making false written statements to licensed dealers of firearms
   On or about November 29, 2020, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted
by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,
  Firearm                                 Model               Caliber
  Glock semi-automatic pistol             23GEN5              .40
  Ruger semi-automatic pistol             Security 9          9mm
  SDS Imports (Tisas) semi-automatic 1911A1                   .45
  pistol

did knowingly make a false and fictitious written statement to Unks Guns a/k/a
Ricky Chester Kipfmiller, a licensed dealer of firearms within the meaning of
Chapter 44 of Title 18 of the United States Code, which statement was intended
and likely to deceive Unks Guns a/k/a Ricky Chester Kipfmiller, as to a fact
material to the lawfulness of the sale of the aforementioned firearm(s), in that
defendant GLOVER falsely represented that he was the actual buyer of the
firearm(s), when, in fact, as defendant GLOVER knew, defendant ROGERS was
the actual buyer of the firearm(s), all in violation of Title 18, United States Code,
Sections 922(a)(6) and 924(a)(2), and Section 2.



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                                    Count Nine
   Knowingly making false written statements to licensed dealers of firearms
   On or about November 29, 2020, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted
by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,
  Firearm                                Model               Caliber
  Charter Arms revolver                  N/A                 .38
  Charter Arms revolver                  N/A                 .38

did knowingly make a false and fictitious written statement to Wise Guys Guns
a/k/a Omega Cartridge Company LLC, a licensed dealer of firearms within the
meaning of Chapter 44 of Title 18 of the United States Code, which statement
was intended and likely to deceive Wise Guys Guns a/k/a Omega Cartridge
Company LLC as to a fact material to the lawfulness of the sale of the
aforementioned firearm(s), in that defendant GLOVER falsely represented that
he was the actual buyer of the firearm(s), when, in fact, as defendant GLOVER
knew, defendant ROGERS was the actual buyer of the firearm(s), all in violation
of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2), and Section 2.
                                    Count Ten
   Knowingly making false written statements to licensed dealers of firearms
   On or about January 16, 2021, in the Northern District of Georgia, the
defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted



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by each other, in connection with the acquisition of at least one of the following
firearms listed below, that is,
  Firearm                                 Model                Caliber
  Glock semi-automatic pistol             43                   9mm
  Clock semi-automatic pistol             17GEN5               9=
  SCCY semi-automatic pistol              CPX-2 RD             9mm
  SCCY semi-automatic pistol              C1X-2 RD             9mm
  SCCY semi-automatic pistol              CPX-2 RD             9mm
  SCCY semi-automatic pistol              CPX-2 CBRD           9mm

did knowingly make a false and fictitious written statement to Unks Guns a/k/a
Ricky Chester Kipfmiller, a licensed dealer of firearms within the meaning of
Chapter 44 of Title 18 of the United States Code, which statement was intended
and likely to deceive Unks Guns a/k/a Ricky Chester Kipf miller, as to a fact
material to the lawfulness of the sale of the aforementioned firearm(s), in that
defendant GLOVER falsely represented that he was the actual buyer of the
firearm(s), when, in fact, as defendant GLOVER knew, defendant ROGERS was
the actual buyer of the firearm(s), all in violation of Title 18, United States Code,
Sections 922(a)(6) and 924(a)(2), and Section 2.
                                   Count Eleven
   Knowingly making false written statements to licensed dealers of firearms
   On or about May 5, 2021, in the Northern District of Georgia, the defendants,
DONELL GLOVER and FREDERICK ROGERS, aided and abetted by each other,
in connection with the acquisition of at least one of the following firearms listed
below, that is,
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  Firearm                                 Model                Caliber
  Glock semi-automatic pistol             30 SF                .45

did knowingly make a false and fictitious written statement to Amchar Georgia
a/k/a Amchar Georgia Range, a licensed dealer of firearms within the meaning
of Chapter 44 of Title 18 of the United States Code, which statement was
intended and likely to deceive Amchar Georgia a/k/a Amchar Georgia Range,
as to a fact material to the lawfulness of the sale of the aforementioned firearm(s),
in that defendant GLOVER falsely represented that he was the actual buyer of
the firearm(s), when, in fact, as defendant GLOVER knew, defendant ROGERS
was the actual buyer of the firearm(s), all in violation of Title 18, United States
Code, Sections 922(a)(6) and 924(a)(2), and Section 2.
                                   Count Twelve
   Knowingly making false written statements to licensed dealers of firearms
   On or about May 22, 2021, in the Northern District of Georgia, the defendants,
DONELL GLOVER and FREDERICK ROGERS, aided and abetted by each other,
in connection with the acquisition of at least one of the following firearms listed
below, that is,
  Firearm                                 Model               Caliber
  Glock semi-automatic pistol             45                  9mm

did knowingly make a false and fictitious written statement to Adventure
Outdoors, a licensed dealer of firearms within the meaning of Chapter 44 of Title
18 of the United States Code, which statement was intended and likely to deceive
Adventure Outdoors, as to a fact material to the lawfulness of the sale of the

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     aforementioned firearm(s), in that defendant GLOVER falsely represented that
     he was the actual buyer of the firearm(s), when, in fact, as defendant GLOVER
     knew, defendant ROGERS was the actual buyer of the firearm(s), all in violation
 of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2), and Section 2.
                     Count Thirteen through Count Twenty-Three
                Unlawful transfer of firearms to an out-of-state resident
       On or about the dates listed below, in the Northern District of Georgia, the
 defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted by
 each other, did knowingly engage in the unlawful transfer of a firearm, in that
 defendant GLOVER, not being a licensed importer, manufacturer, dealer, and
 collector of firearms within the meaning of Chapter 44 of Title 18 of the United
 States Code, did knowingly and willfully transfer, sell, transport, and deliver at
 least one of the following firearms listed in each count below, that is,
Count       On or About      Firearm                          Model            Caliber
13          September 24, Taurus semi-automatic pistol       856               38
            2020
                          ATI semi-automatic pistol           Milsport         5.56
14          September 26, Glock semi-automatic pistol        19GEN5            9mm
            2020




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15      November 14,   Glock semi-automatic pistol        42           .380
        2020           Ruger semi-automatic pistol        EC9S         9mm

                       Ruger semi-automatic pistol        Security 9   9mm

                       Smith & Wesson semi-automatic SD40              .40
                       pistol

                       Taurus semi-automatic pistol       GC3          9mm
                       HS Pro du_kt (Springfield) semi-   XD9          9mm
                       automatic pistol

                       Beretta semi-automatic pistol      APX          9mm
                       Taurus semi-automatic pistol       G2C          9mm

16      November 14,   Glock semi-automatic pistol        19GEN5       9mm
        2020           Glock semi-automatic pistol        26GEN4       9mm

17      November 28,   Taurus semi-automatic pistol       G3C          9mm
        2020           Taurus semi-automatic pistol       Spectrum     .380

18      November 28,   Taurus semi-automatic pistol       G3C          9mm
        2020           Girsan semi-automatic pistol       MC28SA       9mm

                       Clock semi-automatic pistol        43           9mm

                       Glock semi-automatic pistol        43           9mm

                       Glock semi-automatic pistol        44           .22

                       Glock semi-automatic pistol        43           9mm




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19       November 29,      Glock semi-automatic pistol           23GEN5          .40
         2020              Ruger semi-automatic pistol           Security 9      9mm
                           SDS Imports (Tisas) semi-            1911A1           .45
                           automatic pistol

20       November 29,      Charter Arms revolver                 N/A             .38
         2020              Charter Arms revolver                N/A              .38

21       January 16,       Glock semi-automatic pistol          43               9mm
         2021              Glock semi-automatic pistol          17GEN5           9mm
                           SCCY semi-automatic pistol           CPX-2 RD         9mm
                           SCCY semi-automatic pistol           CPX-2 RD         9mm
                           SCCY semi-automatic pistol           CPX-2 RD         9mm
                           SCCY semi-automatic pistol           CPX-2 CBRD 9mm

22       May 5, 2021       Glock semi-automatic pistol          30 SF            .45

23       May 22, 2021      Glock semi-automatic pistol          45               9mm

 to defendant ROGERS, who was not a licensed importer, manufacturer, dealer,
 and collector of firearms within the meaning of Chapter 44 of Title 18 of the
 United States Code, knowing, and having reasonable cause to believe, that
 defendant ROGERS did not then reside in the State of Georgia, the State in which
 defendant GLOVER was residing at the time of the aforesaid transfer, sale,
 transport, and delivery of the firearm(s), all in violation of Title 18, United States
 Code, Sections 922(a)(5) and 924(a)(1)(D), and Section 2.


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                     Count Twenty-Four through Count Thirty-Four
              Unlawful sale or disposal of a firearm to a prohibited person
        On or about the dates listed below, in the Northern District of Georgia, the
     defendants, DONELL GLOVER and FREDERICK ROGERS, aided and abetted by
     each other, did knowingly engage in the unlawful sale and disposal of a firearm,
     in that defendant GLOVER knowingly sold and otherwise disposed of the
     following firearms,
Count       On or About      Firearm                           Model          Caliber
24          September 24,    Taurus semi-automatic pistol      856            .38
            2020
                             ATI semi-automatic pistol         Milsport       5.56
25          September 26,
            2020             Glock semi-automatic pistol       19GEN5         9mm
26          November 14,     Glock semi-automatic pistol       42
            2020                                                              .380
                             Ruger semi-automatic pistol       EC9S           9mm
                             Ruger semi-automatic pistol       Security 9     9mm
                             Smith & Wesson semi-              SD40           .40
                             automatic pistol
                             Taurus semi-automatic pistol      GC3            9mm
                             HS Produkt (Springfield) semi-    XD9            9mm
                             automatic pistol
                             Beretta semi-automatic pistol     APX            9mm
                             Taurus semi-automatic pistol      G2C            9mm



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27      November 14,   Glock semi-automatic pistol    19GEN5        9mm
        2020           Glock semi-automatic pistol    26GEN4        9mm

28      November 28,   Taurus semi-automatic pistol   G3C           9mm
        2020           Taurus semi-automatic pistol   Spectrum      .380

29      November 28,   Taurus semi-automatic pistol   G3C           9mm
        2020           Girsan semi-automatic pistol   MC28SA        9mm
                       Clock semi-automatic pistol    43            9mm
                       Clock semi-automatic pistol    43            9mm
                       Glock semi-automatic pistol    44            .22
                       Glock semi-automatic pistol    43            9mm

30      November 29,   Clock semi-automatic pistol    23GEN5        .40
        2020           Ruger semi-automatic pistol    Security 9    9mm
                       SDS Imports (Tisas) semi-      1911A1        .45
                       automatic pistol

31      November 29,   Charter Arms revolver          N/A           .38
        2020           Charter Arms revolver          N/A           .38




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32        January 16,      Glock semi-automatic pistol          43              9mm
          2021             Glock semi-automatic pistol          17GEN5          9mm
                           SCCY semi-automatic pistol           CPX-2 RD        9mm
                           SCCY semi-automatic pistol           CPX-2 RD        9mm
                           SCCY semi-automatic pistol           CPX-2 RD        9mm
                           SCCY semi-automatic pistol           CPX-2 CBRD 9mm

33        May 5, 2021      Glock semi-automatic pistol          30 SF           .45

34        May 22, 2021     Glock semi-automatic pistol          45              9mm

 to defendant ROGERS, knowing and having reasonable cause to believe that
 defendant ROGERS had been convicted of a crime punishable by imprisonment
 for a term exceeding one year, all in violation of Title 18, United States Code,
 Sections 922(d)(1) and 924(a)(1)(D), and Section 2.
                                       Forfeiture
     Upon conviction of one or more of the offenses alleged in Counts One
 through Thirty-Four of this Indictment, the defendants, DONELL GLOVER and
 FREDERICK ROGERS, shall forfeit to the United States, pursuant to Title 18,
 United States Code, Section 924(d), and Title 28, United States Code, Section
 2461(c), all firearms and ammunition used or involved in the commission of the
 offense(s).
     If, as a result of any act or omission of the defendants, any property subject to
 forfeiture:



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   a. carmot be located upon the exercise of due diligence;
   b. has been transferred or sold to, or deposited with, a third person;
   c. has been placed beyond the jurisdiction of the Court;
   d. has been substantially diminished in value; or
   e. has been commingled with other property which cannot be subdivided
      without undue complexity or difficulty,
the United States intends, pursuant to Title 21, United States Code, Section 853(p)
and Title 28, United States Code, Section 2461(c), to seek forfeiture of any other
property of the defendants up to the value of the forfeitable property.

                                          A                                   BILL


                                                       OREPERSON
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